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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:05CR3082
           v.                        )
                                     )
LUIS F. NUNEZ and                    )
ERIKA M. PENA,                       )                   ORDER
                                     )
                Defendants.          )
                                     )


     IT IS ORDERED:

     Plaintiff’s motion to continue hearing, filing 36, is
granted. The suppression hearing is continued to November 23,
2005 at 3:30 p.m.


     DATED this 25th day of October, 2005.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
